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             In the United States Court of Federal Claims
                                              No. 17-889C
                                        (Filed: August 25, 2017)

************************************
                                                *
IDEAL INNOVATIONS, INC.,                        *
THE RIGHT PROBLEM, LLC, and,                    *
ROBERT KOCHER                                   *
                                                *
                                                *
                          Plaintiffs,           *
                                                *
       v.                                       *
                                                *
THE UNITED STATES,                              *
                                                *
                          Defendant.            *
                                                *
************************************


      SPECIAL PROCEDURES ORDER FOR CASES UNDER 28 U.S.C. ' 1498(a)
                       (Revised November 1, 2016)

         Pursuant to Rules 1, 16, and 83(b), and Appendix A & 1-2, of the Rules of the United
States Court of Federal Claims (RCFC), in the interest of promoting inexpensive, efficient, and
just litigation, it is ORDERED that each party shall comply with the following procedures:

1.     Initial Matters.

       a.      Pretrial Rules. Counsel shall familiarize themselves with the rules governing
               pretrial proceedings, particularly RCFC 5-7, 11, 16, 26, 77.2, and 83, and
               Appendix A & 3, in order to ensure full and timely compliance with applicable
               deadlines, filing procedures, and other requirements. Note that the RCFC, 1
               though generally similar, are not identical to the Federal Rules of Civil Procedure.

       b.      Communications with the Court. Unless invited or otherwise ordered by the
               Court, communications with these chambers shall be by formal motion, whether
               filed in writing in the Clerk’s Office or moved in open court. In particular, letters
               will not be accepted in lieu of motions without prior authorization.

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          The Rules can be found in the Appendix to Title 28 of United States Code and on the
court=s web site.
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            Notwithstanding this provision, counsel may, at any time, jointly request a
            conference with the Judge to discuss a dispute or other pending matter.
            Scheduling questions should be directed to Judge Damich’s law clerk, at (202)
            357-6483. Questions regarding CFC filing requirements and other standard court
            procedures should be directed to the Clerk=s Office at (202) 357-6400.

     c.     Legibility. All papers filed with the Court shall be legible. This requirement is
            especially important when photocopies of documents with small type are
            submitted.

     d.     Courtesy Copies, Time-Sensitive Electronic Filings.

            i.      Pursuant to RCFC Appendix E, paragraph 10, a courtesy copy in paper
                    form shall be submitted to chambers whenever a document has been filed
                    electronically that, when printed, would exceed 50 pages, including
                    exhibits or attachments. Submission of a courtesy copy to chambers does
                    not constitute official filing with the Clerk’s Office under the Rules of the
                    Court.

            ii.     Counsel shall call chambers promptly to advise of electronic filings on
                    time-sensitive matters (e.g., motions for enlargement of time at or near the
                    date a filing is otherwise due).

            iii.    When communication with chambers is otherwise necessary,

                    1.     Facsimile transmissions should be sent to:
                                 Judge Edward J. Damich
                                 Tel. No.: (202) 357-6483
                                 Fax No.: (202) 357-6490

                    2.     E-mail transmissions should be sent, with attachments (if any) in
                           Adobe Acrobat (PDF) (preferred) or Microsoft Word, to:
                                  Damich_Chambers@ao.uscourts.gov

     e.     Court Closings. The court sometimes closes because of inclement weather in
            Washington, D.C. Counsel may contact the Clerk’s Office at (202) 357-6407 or
            view the web site of the court at www.uscfc.uscourts.gov to inquire about such
            closings.

2.   Professional Conduct. At all times during this proceeding, counsel’s conduct should be
     characterized by personal courtesy and professional integrity in the fullest sense of those
     terms. In fulfilling their duty to represent their clients vigorously as lawyers, counsel
     should be mindful of their obligations to the administration of justice. Conduct that may
     be characterized as uncivil, abrasive, abusive, hostile, or obstructive impedes the

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     fundamental goal of resolving disputes rationally, peacefully, and efficiently. Such
     conduct will not be tolerated and may result in sanctions being imposed. See, e.g.,
     RCFC 37.

3.   Motions – Generally.

     a.     Page Limits. Briefs and memoranda in support of motions are limited in length
            as set out in RCFC 5.4(b). Leave of court is necessary to exceed these page
            limits.

     b.     Courtesy Copies. When a courtesy copy is submitted pursuant to General Order
            42A, the document may be reproduced using both sides of the paper. If
            submitted in this way, however, the pages must be bound so that photocopying
            both sides of the page is possible.

     c.     Sample orders. For proposed orders of two pages or longer, such as protective
            orders, the parties should submit a draft order as an appendix to the motion. A
            courtesy copy of the draft order should also be emailed directly to chambers as an
            attached document.

     d.     Reconsideration of Orders or Rulings. The 28-day time limit specified in RCFC
            59(b) shall also apply to motions for reconsideration of orders or other court
            rulings.

4.   Motions for Enlargements of Time and Stays of Proceedings. The Court intends to
     follow precisely any schedule established in the case and to apply strictly the rules
     regarding requests for enlargements of time and stays of proceedings.

     a.     Motions for Enlargements.

            i.      Timing. Motions for enlargement must be filed as early as possible, see
                    RCFC 6(b), generally at least five (5) business days in advance.

            ii.     Requirements.

                    1.      Each request for an enlargement must specify the grounds and
                            shall indicate whether the motion is opposed.

                    2.      The burden of establishing grounds for an enlargement is on the
                            movant and motions are not granted automatically.

                    3.      In the case of requests filed out of time, the allegation of excusable
                            neglect must be substantiated. See RCFC 6(b).


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                    4.      After the second extension of time, counsel may be required to
                            obtain the signature of the party (in the government’s case, a
                            representative of the agency) on motions for any further extensions
                            of time.

     b.     Motions to Stay Proceedings.

            i.      Length of Time. Stays of proceedings for purposes of facilitating
                    settlement negotiations shall not generally be granted beyond 90 days.

            ii.     Motions for Continuations of Stays. If a party moves for continuation of
                    a stay beyond 90 days, that party shall denote, with specificity (e.g., dates,
                    places, participants) the steps taken in pursuit of settlement during the time
                    of the previous stay. Such motions shall also address the steps the parties
                    expect to take in continued pursuit of settlement. The parties bear the
                    burden of persuading the Court that the case should not proceed thereafter
                    concurrently with settlement negotiations.

5.   Hearings and Status Conferences.

     a.     In General. At each hearing or conference, including the preliminary status
            conference held shortly after filing the joint preliminary status report (JPSR)
            required by RCFC Appendix A and one held after filing the post-discovery joint
            status report (JSR), the Court explores the strengths and weaknesses of each
            party’s arguments and may discuss the possibility of utilizing dispositive motions,
            alternative dispute resolution (ADR), discovery limitations, bifurcated
            proceedings, or other means for reducing the cost and delay of discovery and/or
            trial. See RCFC 16(c).

            In hearings, it is the established practice of this chambers to proceed first with direct
            questioning of counsel. When the Court’s questions have been answered and
            discussed, with appropriate opportunity given to opposing counsel to comment or
            rebut, the parties may, if they wish, conclude with additional comment on matters
            not already addressed or as to which they believe further emphasis is necessary.
            When appearing in person, counsel may remain seated when addressing the Court.

     b.     Time. The time for all hearings and status conferences is the time in
            Washington, D.C., unless otherwise expressly stated.

     c.     Participants. A representative of the party (in the case of the government, agency
            counsel or staff) must participate if counsel is not prepared to discuss in depth the
            factual and legal history of the claim(s) and technical matters requiring
            specialized expertise. A representative with the power to bind the Plaintiff shall
            be present at all settlement conferences. A representative of the agency with the
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                power to recommend actions for the Defendant shall be present at all settlement
                conferences.

       d.       Scope of Conference. At each conference, counsel are expected to be
                substantially prepared, e.g.,

                i.     ready to agree to a schedule for future proceedings;

                ii.    fully familiar with the facts, procedural history, and legal arguments,
                       including the merits of any pending motion; and

                iii.   ready to discuss settlement prospects, ways to minimize unnecessary
                       discovery, and appropriate ADR techniques.

       e.       Attendance. Counsel are expected to appear at status conferences by telephone
                unless instructed otherwise. Whenever counsel is expected to appear by
                telephone, counsel shall e-mail chambers, at damich_chambers@ao.uscourts.gov ,
                no later than one business day before the conference, to provide the phone number
                where he or she can be reached and to inform the Court whether any others will
                be participating for that party (and, if so, their names, phone numbers, and
                affiliations). Status conferences and hearings shall be held on the record, unless
                the Court directs otherwise. The record shall generally be made via audio-
                recording, unless either party requests that a reporter be present. Such a request
                must be made at least five business days in advance of the conference.

       f.       Scheduling. Hearings and conferences will be scheduled by Judge Damich’s law
                clerk, who will contact counsel to make appropriate arrangements. A court order
                will be issued as to each such hearing or conference.

6.     Supplemental Information in the JPSR. The purpose of the parties’ JPSR, required by
       RCFC Appendix A & 4 to be filed no later than 49 days after filing the answer or reply to
       a counterclaim, is to inform the Court of relevant matters so that a plan and schedule for
       the litigation can be established at the preliminary status conference. Therefore, the
       JPSR shall provide the following information, which is in addition to or different from
       that required by the referenced paragraphs and subparagraphs of RCFC Appendix A: 2

       a.       Paragraph 4(a). Provide the jurisdictional statute(s) upon which Plaintiff relies,
                and Plaintiff’s detailed justification for invoking the CFC’s limited statutory
                jurisdiction.

       b.       Paragraph 4(d). State whether there is any basis for transferring or remanding

       2
          The JPSR must also be supplemented as the parties become aware of additional
information.

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               the case to another tribunal, and whether the parties are aware of any related cases
               in this or any other tribunal. See RCFC 40.2.

       c.      Paragraph 4(h). Describe the material issues of fact and law that are in dispute,
               as well as those that are not. This statement should not be elaborate or technical,
               but should be sufficient, at a minimum, to explain the basis for each counsel’s
               certification under RCFC 11 with respect to the factual allegations and legal
               theories upon which any claim or defense is based, and to give the Court adequate
               opportunity to prepare for, and participate meaningfully in, the preliminary status
               conference (e.g., assisting the parties in focusing and narrowing issues and
               disputes). Mere incorporation by reference or reiteration of the answer or the
               complaint normally will not satisfy this requirement.

       d.      Paragraph 4(i). The parties shall state whether any method of ADR, including
               those described below, 3 is viable. If none, they shall explain why, with
               particularity.

               i.     U.S. Court of Federal Claims’ ADR Program. RCFC Appendix H & 3(a)
                      states that ADR is a voluntary procedure. When both parties agree to one
                      of these methods they may request the Court to refer their dispute to the
                      CFC’s ADR Administrator.

                      1.      Settlement Judge. In this flexible process, which can be used at
                              any time during the proceedings, the ADR Administrator assigns
                              the case to a CFC judge who will act as a neutral advisor. After a
                              detailed discussion of the strengths and weaknesses of each party’s
                              case, the settlement judge will provide a judicial assessment of the
                              dispute and the parties’ settlement positions. If a resolution is not
                              reached, the case is returned to the presiding trial judge for further
                              action.

                      2.      Mini-trial. In this procedure, which ordinarily takes place before
                              discovery, the parties present an abbreviated version of their case
                              to a judge other than the presiding judge. Useful in cases
                              involving factual disputes, rather than legal ones, this process
                              should not run longer than 3 months, with limited voluntary
                              discovery. The hearing, which should last no more than a day, is

       3
           This list is by no means exhaustive; the parties are encouraged to suggest other
alternative dispute resolution or trial simplification measures. The Court recognizes that the
government will not agree to certain binding methods of dispute resolution. However, it also
notes the government's expressed support of ADR measures. See Executive Order 12,988 (Feb.
5, 1996); Department of Justice Policy on the Use of Alternative Dispute Resolution, 61 Fed.
Reg. 36,895 (July 15, 1996).

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                    informal and the parties are not bound by the rules of evidence or
                    procedure. At its conclusion, the parties meet to discuss
                    settlement. The mini-trial judge may play an active role or advise
                    the parties on the merits, at the parties’ option.

            3.      Third-Party Neutrals. A third-party neutral, selected by the
                    parties, will meet with the parties and attempt to facilitate dispute
                    resolution.

     ii.    Other Means of ADR

            1.      Bifurcated Trial. A bifurcated case is tried in two parts. For
                    example, a first trial may be held on the issue(s) of liability. A
                    second trial, on damages, may be unnecessary if no liability is
                    found. See RCFC 42(c).

            2.      Limited Discovery. The parties may agree to limit discovery to
                    certain issues or to conduct discovery in a particular chronological
                    order, while suspending other discovery, e.g., when dispositive
                    motions covering fewer than all the issues in the case are
                    anticipated.

            3.      Court-Appointed Experts/Neutral Fact-Finders. This method is
                    useful, e.g., in patent cases when complex and technical factual
                    disputes are presented. A neutral third-party fact-finder, chosen
                    by the Court and/or agreed upon by the parties based on his or her
                    substantive or technical expertise, examines the disputed facts and
                    submits detailed findings to the Court.

            4.      Arbitration. This is an informal adversarial process, similar to the
                    mini-trial, in which the case is heard and decided by one or more
                    private attorneys or retired judges.

            5.      Mediation. A flexible, non-adversarial process that may include
                    “shuttle diplomacy,” mediation employs a neutral third party
                    agreed upon by the parties to help the disputants fashion a
                    mutually agreeable compromise.

            6.      Paper Trial. Trial time and expense are saved by allowing the
                    parties to submit written evidence, e.g., affidavits and transcripts of
                    depositions in which witnesses are cross-examined on their
                    affidavits on disputed issues of fact.

e.   Paragraph 4(l). Provide a joint representation, citing the date of the meeting, that

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                counsel have held the early meeting of counsel as required in RCFC Appendix A
                & 3. In addition, jointly stipulate to the date of the initial disclosures set forth in
                RCFC 26(a)(1) or state the grounds for any party=s objections that such
                disclosures are not yet appropriate.

       f.       Paragraph 4(j) and Paragraph 5. Joint Proposed Scheduling Plan. In lieu of the
                requirements of && 4(j) and 5 of RCFC Appendix A, the parties shall set forth a
                proposed scheduling plan with exact dates where a date is required. The parties’
                joint proposed scheduling plan shall include:

                i.      The requested place of any trial (and of hearings in general); the
                        anticipated duration of trial; 4 and the earliest date by which the case can
                        reasonably be expected to be ready for trial;

                ii.     The dates for joinder of additional parties;

                iii.    Whether either of the parties anticipates filing any dispositive motions. If
                        so, the following details should be provided:

                        1.      A date by which such motion will be filed;

                        2.      The legal theory in support of such motion;

                        3.      Whether the issue(s) on which a motion for summary judgment
                                will be based should be resolved before, after, or concurrently with
                                a hearing on claim construction. For example, this Court prefers
                                to handle certain indefiniteness issues under 35 U.S.C. § 112 ¶2
                                and ¶6 prior to claim construction; and

                        4.      If the motion is for summary judgment, whether either party
                                desires that expert discovery precede the motion; if so, the grounds
                                therefor;

                iv.     Whether the case should be conducted in phases. For example, it may be
                        appropriate to delay the damages phase until after liability has been
                        established. It may also be appropriate to divide the liability stage into
                        discrete steps, such as construing the claims under Markman v. Westview
                        Instruments, 517 U.S. 370 (1996), to determine whether the patent is


       4
           Counsel should represent whether the time provided is for the entire case or for each
side=s case. Further, for planning purposes only, counsel should know that Judge Damich
usually conducts trials from approximately 10:00 a.m. to approximately 4:00 p.m. with
appropriate breaks during the day. Of course, the daily trial schedule is subject to change.

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                          valid, 5 and then determining whether there was infringement.

                          1.     If the parties propose to proceed in phases, they should set forth a
                                 schedule relative to each such phase;

                  v.      A date by which fact discovery will be completed. Any motion to
                          compel, after the appropriate good faith effort to resolve the dispute,
                          should be filed on or before this date. Accordingly, counsel must plan to
                          serve discovery requests sufficiently before this date to permit the other
                          side to object. In addition, advise whether the case will likely involve the
                          discovery of classified material;

                  vi.     Pursuant to RCFC 26(a)(2), the dates by which each party shall disclose
                          its expert witnesses’ identities and reports (including rebuttal reports), and
                          the dates by which each party shall make its expert witnesses available for
                          deposition, giving consideration to whether serial or simultaneous
                          disclosure is appropriate in the case;

                  vii.    The date by which expert discovery will be completed;

                  viii.   Whether the presumptive limits of 10 depositions and 25 interrogatories
                          per party should apply in this case and, if not, the reasons for varying these
                          limits; and

                  ix.     Any other matters pertinent to the completion of discovery in this case or
                          that counsel deem appropriate for inclusion in the joint scheduling plan.

         g.       Paragraph 7. Provide three alternate dates (and time of day) that are mutually
                  agreeable to counsel for a status conference with the Court. These dates should
                  be at least 14 days, but not more than 21 days, after the filing of the JPSR. After
                  receiving the JPSR, Judge Damich’s law clerk will contact the parties to schedule
                  the preliminary status conference, after which a corresponding order will issue.

         h.       Separate Allegations Permitted. Separate views and proposals on any of the
                  points covered by the JPSR may be set forth on any point on which the parties
                  cannot agree. Reasonable compromise, however, is strongly encouraged.

7.       Appendix to Joint Preliminary Status Report.

         a.       The parties shall provide, as an appendix to the JPSR, copies of material portions
                  of any documents not previously filed that are relevant to jurisdiction or to

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              The requirements for a claim construction hearing are set forth in Paragraph 12 of this
order.

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                   disputed facts alleged with particularity in the pleadings, e.g.:

                   i.      The patents at issue, relevant contractual documents, correspondence
                           between the parties, and damage computations;

                   ii.     If the patents at issue are available electronically (through LEXIS,
                           Westlaw, or the Internet), the Plaintiff shall provide a citation to the
                           patent; and

                   iii.    Records of prior judicial or agency proceedings relative to the claims in
                           this case. 6

          b.       The parties shall include as exhibits relevant portions of statutes, regulations, and
                   subregulatory guidance that may be at issue, in effect at the relevant time, if these
                   are not frequently cited to in the United States Court of Federal Claims, 7 or are
                   unpublished, outdated, or otherwise not readily available.

8.        Discovery: Initial Disclosures.

          a.       Initial Disclosure of Asserted Claims. No later than 15 days after the answer to a
                   complaint for patent infringement, the Plaintiff must serve on all parties an
                   “Initial Disclosure of Asserted Claims” in conformity with Paragraph 8.b. and
                   must produce or make available for inspection and copying the documents
                   described in Paragraph 8.c.

          b.       Content of Initial Disclosure of Asserted Claims. Separately, for each opposing
                   party, the “Initial Disclosure of Asserted Claims,” shall contain the following
                   information:

                   i.      Each claim of each patent in suit that is allegedly infringed by each
                           opposing party, including for each claim the applicable statutory
                           subsections of 35 U.S.C. § 271 asserted;

                   ii.     Separately for each allegedly infringed claim, each accused apparatus,
                           product, device, process, method, act or other instrumentality (“Accused
                           Instrumentality”) of each opposing party of which the party is aware.

          6
          The relevance of an exhibit should be clear from the statement of issues required by
Paragraph 6.c. of this Order. That statement should provide page references to the relevant
exhibits.
          7
               See, e.g., United States Court of Federal Claims: A Deskbook for Practitioners, 5th Ed.
(1998).

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             This identification shall be as specific as possible. Each product, device
             and apparatus must be identified by name or model number, if known.
             Each method or process must be identified by name, if known, or by any
             product, device or apparatus which, when used, results in the practice of
             the claimed method or process;

      iii.   The date of conception and the date of reduction to practice of each
             asserted claim.

c.    Document Production Accompanying Initial Disclosure of Asserted Claims. At
      the time of filing the “Initial Disclosure of Asserted Claims,” the Plaintiff must
      produce to each opposing party or make available for inspection and copying all
      documents relating to:

      i.     Any action that could be interpreted as either an offer to sell or public use
             of each claimed invention prior to the date of application for the patent;

      ii.    Research, design, and development of each claimed invention; and

      iii.   All documents evidencing ownership of the patent rights by the party
             asserting patent infringement.

d.    Initial Disclosure of Prior Art. No later than 15 days after service upon it of an
      “Initial Disclosure Of Asserted Claims,” each opposing party shall serve on all
      parties an “Initial Disclosure Of Prior Art” which conforms to Paragraph 8.e. and
      must produce or make available for inspection and copying the documents
      described in Paragraph 8.f.

e.    Content of Initial Disclosure of Prior Art. The Initial Disclosure of Prior Art
      shall contain the following information:

      i.     Each item of prior art that the party contends anticipates the claim or
             renders it obvious;

      ii.    For each item of prior art, whether it anticipates the claim or renders it
             obvious;

      iii.   If obviousness is alleged, an explanation of why the prior art renders the
             asserted claim obvious, including an identification of any combinations of
             prior art rendering the claim obvious; and

      iv.    The identification of prior art must be as specific as possible. Each prior
             art patent shall be identified by its number, country of origin, and date of
             issue. Each prior art publication shall be identified by its title, date of
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                  publication and, where feasible, its author and publisher. Evidence of
                  public use or sale shall be presented by specifying the item offered for sale
                  or publicly used, the date the offer or use took place, and the identity of
                  the persons or entities that made the use, made the offer, and received the
                  offer.

     f.    Document Production Accompanying Initial Disclosure of Prior Art. At the time
           of filing the “Disclosure of Prior Art,” each opposing party must produce or make
           available for inspection and copying any source code, specifications, schematics,
           flow charts, artwork, formulas, or other documentation on any Accused
           Instrumentality.

9.   Discovery: Claim Chart.

     a.    Service and Content of Claim Chart. No later than 70 days after service upon it
           of an “Initial Disclosure Of Prior Art,” under Paragraph 8.d., any party claiming
           patent infringement shall serve upon all parties a “Claim Chart.” Separately,
           with respect to each opposing party against whom a claim of patent infringement
           is made, the Claim Chart must contain the following information:

           i.     Each claim of any patent in suit which the party alleges was infringed;

           ii.    The identity of each Accused Instrumentality of each opposing party
                  which allegedly infringes each claim;

           iii.   Whether such infringement is claimed to be literal or under the doctrine of
                  equivalents;

           iv.    Where each element of each infringed claim is found within each Accused
                  Instrumentality, including for each limitation that such party contends is
                  governed by 35 U.S.C. § 112 ¶6, the identity of the structure(s), act(s), or
                  materials(s) that performs the claimed function; and

           v.     If a party claiming patent infringement wishes to preserve the right to rely
                  on its own apparatus, product, device, process, method, act or other
                  instrumentality as evidence of commercial success, the party must
                  identify, separately for each claim, each such apparatus, product, device,
                  process, method, act or other instrumentality that incorporates or reflects
                  that particular claim; and

           vi.    Identify each claim element which the party contends should be governed
                  by 35 U.S.C. § 112 ¶6.

     b.    Response Chart. No later than 60 days after service upon it of a “Claim Chart,”

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            each party opposing a claim of patent infringement shall serve on all parties a
            “Response Chart,” which must contain the following information:

            i.     The identity of each item of prior art that anticipates the claim or renders it
                   obvious. Each prior art patent shall be identified by its number, country
                   of origin, and date of issue. Each prior art publication must be identified
                   by its title, date of publication, and, where feasible, author and publisher.
                   Evidence of public use or sale shall be presented by specifying the item
                   offered for sale or publicly used, the date the offer or use took place, the
                   identity of the persons or entities which made the use, made the offer, and
                   received the offer;

            ii.    Whether it anticipates the claim or renders it obvious. If a combination of
                   prior art references makes a claim obvious, that combination must be
                   identified;

            iii.   Where, specifically, within each item of prior art each element of the
                   claim is found, including for each limitation that such party contends is
                   governed by 35 U.S.C. § 112 ¶6, the identity of the structure(s), act(s), or
                   materials(s) that performs the claimed function; and

            iv.    All grounds of invalidity other than anticipation or obviousness of any of
                   the claims listed in Claimant’s Claim Chart. This identification must be
                   as specific as possible. For example, if an enablement defense is raised,
                   the adverse party must set forth with particularity what is lacking in the
                   specification to enable one skilled in the art to make or use the invention;
                   and

            v.     Identify each claim element which the party contends should be governed
                   by 35 U.S.C. § 112 ¶6.

      c.    Amendment to Claim Chart. Amendment of a Claim Chart or a Response Chart
            may be made only by order of the Court upon a timely showing of good cause.

10.   Discovery in General.

      a.    Dispositive motions and discovery. The filing of a dispositive motion shall not
            suspend the conduct of discovery, unless the Court so orders.

      b.    Methods of Discovery. The use of requests for admission, stipulations, and
            witness interviews (by telephone, if appropriate) in lieu of formal depositions is
            encouraged, as is the use of videotaped evidence and telephone conferencing.

      c.    Discovery Disputes.

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             i.     Before petitioning the Court to resolve a discovery dispute or to impose
                    sanctions for discovery abuses, counsel must attempt to resolve the
                    problem with opposing counsel. Failure to consult with opposing
                    counsel before filing a motion may result in the imposition of costs.

             ii.    Discovery motions shall be accompanied by a certification that the moving
                    party has made a reasonable and good faith effort to reach agreement with
                    opposing counsel on the disputed matter.

      d.     Abuse of the Discovery Process. Counsel are warned not to abuse the discovery
             process. If either counsel makes excessive demands or provides insufficient
             responses, appropriate sanctions (including, but not limited to, more stringent
             controls over discovery, restrictions on the use of evidence, and imposition of
             attorneys’ fees and costs) may be ordered. See RCFC 37(b).

      e.     Close of Discovery. Within 15 days after the close of discovery, the parties shall
             file a JSR containing, inter alia, a proposed schedule for further proceedings. A
             post-discovery conference, as mandated by RCFC Appendix A & 11, will be
             scheduled shortly thereafter.

11.   Claim Construction Proceedings.

      a.     Proposed Claim Construction Statement. No later than 70 days after service of
             the “Initial Disclosure of Prior Art,” pursuant to Paragraph 8.d., each party
             claiming patent infringement must serve on all parties a “Proposed Claim
             Construction Statement,” which shall contain the following information for each
             claim in issue, see Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005):

             i.     Preferred interpretation of any claim term or phrase and identification of
                    support for that interpretation in the claims themselves. The support may
                    include the context in which a term is used, maintaining consistent usage
                    among claims, and distinguishing between dependent and independent
                    claims;

             ii.    All references from the specification that support, describe, or explain
                    each element of the claim. Such references may include a definition of
                    the claim term, or intentional disclaimer or disavowal of claim scope by
                    the patentee;

             iii.   All material in the prosecution history that describes or explains each
                    element of the claim;

             iv.    Any extrinsic evidence that supports the proposed construction of the

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             claim, including, but not limited to, dictionaries, treatises, expert
             testimony, inventor testimony, and prior art, as permitted by law; and

      v.     When the party claiming patent infringement intends to offer expert
             testimony during a claim construction hearing, that party must disclose the
             expert as set forth in Paragraph 6.f.vi, supra, no later than when the party
             serves the “Proposed Claim Construction Statement.” In addition, the
             Court expects that any depositions will take place during the time allotted
             for the preparation of the “Response to Proposed Claim Construction
             Statement,” described in subparagraph 11.b. below; and

      vi.    For each claim element which a party contends should be governed by 35
             U.S.C. § 112 ¶6, identify the structure(s), act(s), or material(s)
             corresponding to that element’s function.

b.    Response to Proposed Claim Construction Statement. No later than 60 days after
      service upon it of a Proposed Claim Construction Statement, each opposing party
      must serve on each party a “Response to Proposed Claim Construction
      Statement.” The response shall contain the following information, see Phillips v.
      AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005):

      i.     Any interpretation of a claim term or phrase, in addition to or contrary to
             that disclosed pursuant to Paragraph 11.a.i, and identification of support
             for that interpretation in the claims themselves. The support may include
             the context in which a term is used, maintaining consistent usage among
             claims, and distinguishing between dependent and independent claims;

      ii.    All references from the specification that support, describe, or explain
             each element of the claim in addition to or contrary to those disclosed
             pursuant to Paragraph 11.a.ii. Such references may include a definition
             of the claim term, or intentional disclaimer or disavowal of claim scope by
             the patentee;

      iii.   All material in the prosecution history that describes or explains each
             element of the claim in addition to or contrary to those disclosed pursuant
             to Paragraph 11.a.iii;

      iv.    Any extrinsic evidence that supports the proposed construction of the
             claim, including, but not limited to, dictionaries, treatises, expert
             testimony, inventor testimony, and prior art, as permitted by law; and

      v.     When the party opposing patent infringement intends to offer expert
             testimony during a claim construction hearing, that party must disclose the
             expert as set forth in Paragraph 6.f.vi, supra, no later than when the party

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                    serves the “Response to Proposed Claim Construction Statement.” In
                    addition, the court expects that any depositions will take place during the
                    time allotted for the preparation of the “Joint Claim Construction
                    Statement,” described in Paragraph 12, below; and

             vi.    For each claim element which a party contends should be governed by 35
                    U.S.C. § 112 ¶6, identify the structure(s), act(s), or material(s)
                    corresponding to that element’s function.

12.   Claim Construction Hearing.

      a.     Meet and Confer. No later than 21 days after the “Response to Proposed Claim
             Construction Statement” has been served, all parties shall meet and confer for the
             purpose of preparing a “Joint Claim Construction Statement,” pursuant to
             Paragraph 12.b.

      b.     Joint Claim Construction Statement. The Joint Claim Construction Statement
             shall be filed no later than 15 days after the parties meet and confer pursuant to
             Paragraph 12.a., and it shall contain the following information:

             i.     The construction of those claims and terms on which the parties agree;

             ii.    Each party’s proposed construction of each disputed claim and term,
                    supported by the same information that is required under Paragraph 11.
                    The parties are reminded that claims are written in clauses or phrases. A
                    construction of a term in isolation without regard to context is
                    discouraged. As the Federal Circuit has explained, “the context in which
                    a term is used in the asserted claim can be highly instructive.” Phillips v.
                    AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005); see also Hockerson-
                    Halberstadt, Inc. v. Converse Inc., 183 F.3d 1369, 1374 (Fed. Cir. 1999)
                    (“[p]roper claim construction . . . demands interpretation of the entire
                    claim in context, not a single element in isolation.”); Brookhill-Wilk 1,
                    LLC v. Intuitive Surgical, Inc., 334 F.3d 1294, 1299 (Fed. Cir. 2003)
                    (“While certain terms may be at the center of the claim construction
                    debate, the context of the surrounding words of the claim also must be
                    considered . . . .”). Thus, a complete, and more persuasive, proposed
                    construction will always consider the context in which a term appears in
                    the disputed claim;

             iii.   An identification of the terms, up to a maximum of ten, whose
                    construction will be most significant to the resolution of the case. The
                    parties shall also identify any term among the ten whose construction will
                    be case or claim dispositive;


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                iv.    The jointly agreeable dates for a claim construction hearing on all disputed
                       issues of claim construction. The suggested dates shall take into
                       consideration the briefing schedule pursuant to Paragraph 12.d and the
                       calendar of Judge Damich; and

                v.     For any party who proposes to call one or more witnesses at the claim
                       construction hearing, the identity of each such witness, the subject matter
                       of each witness’ testimony, and an estimate of the time required for the
                       testimony.

       c.       Hearing. After the parties have filed their Joint Claim Construction Statement,
                the Court will send a notice of the date and time of the Claim Construction
                Hearing. Unless the notice states otherwise, the parties shall be prepared to call at
                the hearing all the witnesses they identified under Paragraph 12.b.v.

       d.       Briefing Schedule. With respect to a Claim Construction Hearing, the parties
                shall comply with the following briefing schedule:

                i.     Not less than 35 days before the hearing, the party claiming patent
                       infringement must serve and file its opening brief and supporting
                       evidence;

                ii.    Not less than 21 days before the hearing, each opposing party must serve
                       and file its responsive brief and supporting evidence; and

                iii.   Not less than 14 days before the hearing, the party claiming patent
                       infringement must serve and file any reply brief and any evidence directly
                       rebutting the supporting evidence contained in an opposing party's
                       response.

       e.       Format for Claim Construction Hearing. The Court prefers to conduct the claim
                construction hearing using the following procedure: 8

                i.     First, the Court will hear brief presentations about background technology
                       from both sides. A presentation by counsel is sometimes sufficient; in
                       other cases, the presentation should be made by an expert witness, subject
                       to cross-examination. The use of audio-visual and/or demonstrative
                       exhibits is permitted. These exhibits must be disclosed to the opposing
                       side with adequate time to prepare a response;


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            The Court emphasizes that this procedure is a preference. The Court is willing to
alter this procedure provided that any request is made with sufficient notice to all parties and the
Court.

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             ii.     Second, the Court will hear argument based exclusively on intrinsic
                     evidence. The Court will proceed disputed term by disputed term; that is,
                     the Plaintiff will argue its construction of term X, followed by the
                     Defendant’s argument on term X. Next, the Plaintiff will argue its
                     construction of term Y, followed by the Defendant’s argument on term Y;
                     and

             iii.    Third, if necessary, the Court will hear presentation of extrinsic evidence.
                     The Court will again proceed disputed term by disputed term. All
                     witnesses are subject to cross-examination.

13.   Trial Materials for Proceedings other than Claim Construction Proceedings. When the
      case approaches trial, the Court will issue a separate order relating to trial preparation and
      the requirements of RCFC Appendix A.

14.   Notice of Appeal. Parties should note that, pursuant to Federal Rules of Appellate
      Procedure 4(a)(1)(B), a notice of appeal must be filed with this Court no later than 60
      days after the date of entry of the order or judgment appealed. The entry date of an
      order, judgment, or any filing with the Clerk’s Office is the date when it is electronically
      entered into the docket and may not correspond with the filing date.


                                                      s/ Edward J. Damich
                                                      EDWARD J. DAMICH
                                                      Senior Judge




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